Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 1 of 25 Page ID #:2109



    1        Law Office Of
    2   MICHAEL P. RING
            AND ASSOCIATES
    3   Michael P. Ring, State Bar #95922
        mpr@ringlaw.net
    4   Jesse T. Farris, state Bar #250864
        jessefarris74@gmail.com
    5   1234 Santa Barbara Street
        Santa Barbara, CA 93101
    6   (805) 564-2333 TEL
        (805) 564-8899 FAX
    7
        ATTORNEY FOR DEFENDANTS
    8

    9
                             UNITED STATES DISTRICT COURT
   10
               CENTRAL DISTRICT OF CALIFORNIA-WESTERN DIVISION
   11

   12 Call Delivery Systems, LLC, a          )   Case 2:20-cv-04637-CBM-PD
      California limited liability           )
   13 company                                )   DEFENDANTS DARYL MORGAN,
                                             )   AND CALL HAVEN PARTNERS,
   14          Plaintiff                     )   LLC’S TRIAL BRIEF
                                             )
   15                v.                      )
                                             )   DATE:      03/30/22
   16 Daryl Morgan, an individual;           )   TIME:      10:00 A.M.
      Call Haven Partners, LLC, a            )   COURTROOM: TBA
   17 California limited liability           )
      company,                               )   Honorable Consuelo B. Marshall
   18                                        )
               Defendants                    )
   19                                        )
                                             )
   20

   21

   22

   23

   24

   25

   26
   27

   28

                                                 i
        DEFENDANTS’ TRIAL BRIEF                                      2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 2 of 25 Page ID #:2110



    1                                    TABLE OF CONTENTS

    2
                                                                                        Page
    3                                                                                      1
            I.          INTRODUCTION AND STATEMENT OF FACTS
    4             a.    Morgan’s Departure from CDS                                        1
                  b.    Call Haven Partners, LLC and Allegations of Misappropriation       2
    5                                                                                      4
                  c.    Defendants Have Not Misappropriated Anything and Plaintiff’s
    6                   Alleged Damages, If they Exist, Are Self Inflicted
                        i. Facts Re: CDS Loss of Revenue                                     4
    7                                                                                        5
                        ii. CDS’S Allegations of Proprietary Trade Secrets Do Not
    8                       Withstand Scrutiny
                           1. Routing Technology                                            5
    9                                                                                       6
                           2. Toll-Free Number Algorithm
   10                      3. Former CDS Suppliers/Pricing                                  8
            II.         PLAINTIFF’S CAUSES OF ACTION                                        9
   11                                                                                       9
                   a.   Defend Trade Secrets Act (“DTSA”)
   12                   i. Prima Facie Element of the DTSA: Defining “Trade Secret”         9
                        ii. Damages                                                        10
   13                                                                                      11
                   b.   Uniform Trade Secrets Act (“UTSA”)
   14                   i. Client and Customer Lists as Trade Secrets                      11
                   c.   Alleged Spoliation of Evidence                                     12
   15                                                                                      13
                   d.   Breach of Fiduciary Duty of Loyalty
   16       III.        MORGAN’S COUNTERCLAIMS                                             14
                   a.   Morgan Is Entitled to Paid Time Off (“PTO”)                        14
   17                                                                                      17
                   b.   Morgan Is Entitled To A Fact Determination On Waiting Time
   18                   Penalties
                   c.   Morgan’s Breach of Contract Action                                 18
   19

   20

   21

   22

   23

   24

   25

   26
   27

   28

                                                      ii
        DEFENDANTS’ TRIAL BRIEF                                              2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 3 of 25 Page ID #:2111



    1                              TABLE OF AUTHORITIES
    2    Cases                                                                    Page
    3    02 Micro Inter. Ltd. v. Monolithic Power Systems, Inc., 399                        10
    4    F.Supp.2d 1064 (N.D. Cal. 2005)
    5
         Barnhill v. Robert Saunders & Co. (1981) 125 Cal.App.3d 1, 7.                      18
    6

    7    Church v. Jamison (2006) 143 Cal.App.4th 156                                       17
    8
         Connecticut Gen. Life Ins. Co. v. New Images of Beverly Hills, 482                 13
    9
         F.3d 1091, 1097 (9th Cir. 2007)
   10

   11    K.C. Multimedia, Inc. v. Bank of Am. Tech. and Operations, Inc., 171               14
   12
         Cal.App. 4th 939, 958 (2009))
   13
         Kerr’s Catering Service v. Department of Industrial Relations 57                   17
   14

   15    Cal.2d 319, 326, (1962)
   16
         Leatt Corp. v. Innovative Safety Tech., LLC, 2010 W.L. 1526382                     11
   17
         (2010)
   18

   19    Lopez v. United Parcel Service, Inc., 2010 WL 728205; (N.D. Cal.                   18
   20
         2010)
   21
         MAI Systems Corp. v. Peak Computer, 991 F.2d 511, 521 (9th Cir.                    11
   22

   23    1993)
   24
         Mamika v. Barca 68 Cal.App.4th 487, 493 (1998)                                     18
   25

   26
         Mattel, Inc. v. MGA Ent., Inc., 782 F.Supp. 2d 911, 986 (C.D. Cal.                 14

   27    2011).
   28

                                                 iii
        DEFENDANTS’ TRIAL BRIEF                                             2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 4 of 25 Page ID #:2112



    1
         McPherson v. EF Intercultural Foundation, Inc. (2020) 47                  14, 16, 17

    2    Cal.App.5th 243
    3
         Owen v. Macy’s, Inc., 175 Cal.App.4th 462, 468, (2009)                            14
    4

    5    Religious Technology Center v. Netcom On-Line Communication                     7,11

    6    Services, Inc., 907 F. Supp. 1361 (N.D. Cal. 1995)
    7
         Steinberg Moorad & Dunn Inc., v. Dunn, 136 Fed.Appx. 6,                           12
    8

    9    2005 WL 712487, at * 12 (Cal. 2005)

   10    Suastez v. Plastic Dress-Up Co. 31 Cal.3d 774 (1982)                          15, 16
   11
         Troester v. Starbucks Corporation 387 F.Supp.3d 1019, 1030, (C.D.                 18
   12

   13    Cal. 2019)

   14    Villalpando v. Exel Direct Inc. 2015 WL 5179486, at *36 (N.D.                     18
   15
         Cal., Sept. 3, 2015, No. 12-CV-04137-JCS)
   16

   17    Weride Corporation v. Huang, 379 F. Supp. 3d 834, 847 (N.D. Cal.              10, 13
   18    2019)
   19
         Whiteslate, LLP v. Dahlin, No. 20-CV-1782 W (BGS) (S.D. Cal.                      14
   20

   21    July 7, 2021)
   22    Wyle v. R.J. Reynolds Indus., Inc., 709 F.2d 585, 591 (9th Cir. 1983)             13
   23

   24

   25

   26
   27

   28

                                                  iv
        DEFENDANTS’ TRIAL BRIEF                                            2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 5 of 25 Page ID #:2113



    1   Statutes                                                              Page
         18 U.S.C. § 1836                                                        7, 9
    2

    3    18 U.S.C. § 1839                                                       9, 10

    4    Cal. Civil Code § 1984                                                    11
    5
         Cal. Labor Code § 203                                                 17, 18
    6

    7    Cal. Labor Code § 227.3                                       14, 15, 16, 17

    8

    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26
   27

   28

                                            v
        DEFENDANTS’ TRIAL BRIEF                                    2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 6 of 25 Page ID #:2114



    1                                           I.

    2                 INTRODUCTION AND STATEMENT OF FACTS

    3         Defendant    Daryl   Morgan    (herein      “Morgan”)    has   worked      in   the

    4 telecommunications industry for 20 years. In that time, he went from working for

    5 CNM Network, to then becoming employed by Intermetro Communications, then

    6 Dial800, and then CDS/Reconnect Research (“CDS”). All of the above companies

    7 were California entities, and Morgan’s work was exclusively in California.

    8         In March of 2020, Morgan left CDS to go out on his own and form his own

    9 company in the field. Accordingly, he founded Call Haven Partners, LLC, and has

   10 been operating that business continuously since its inception.

   11         The basic business model for companies like Plaintiff is that they locate

   12 companies or individuals who have access to toll free phone numbers, and make

   13 arrangements that allow them to offer those toll free phone numbers to other

   14 companies or individuals who will then use the toll free phone numbers to market

   15 various types of business, services, or products.

   16         During his employment with Dial800 (the predecessor to CDS), Morgan

   17 advanced from being a Telecom Specialist to becoming involved with Misdialed Calls.

   18 Eventually, Morgan was given the title of being the Chief Technology Officer.

   19            a. Morgan’s Departure from CDS
   20         Over the years Morgan was promised well over a dozen times by, among others,
   21 the newly appointed CEO James Diorio and Richards, the Chairman of the Board, that

   22 Morgan would be compensated for what he had helped create, and for the millions of

   23 dollars of new revenue that Morgan had helped bring to the company. These promises

   24 never were fulfilled.

   25         Ultimately, the company was sold to Sandra Tamler (herein “Tamler”) who
   26 directed Richards to terminate all the buyers that she did not like, or was unwilling to
   27 do business with. Richards complied and notified all major buyers that the company

   28 were going to shut them off from access to CDS sales. The resulting impact on the

                                                     1
        DEFENDANTS’ TRIAL BRIEF                                              2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 7 of 25 Page ID #:2115



    1
        company’s revenue was dramatic. Prior to the sale to Tamler, Morgan had been

    2
        informed that he was likely to be let go after Ms. Tamler acquired the company.

    3 However after the sale, instead of being terminated, Tamler had CDS create a new

    4 Agreement for all employees. The new employment agreement was completely

    5 unacceptable to Morgan, in that it would have required employees to remain on call

    6 24 hours a day, 7 days a week, work on weekends, as well as in the office at least 5

    7 days a week, along with a very strict non-compete clause. The agreement would have

    8 nullified all prior promises and commitments made by CDS to its employees,

    9 including Morgan. In conjunction with the new employment agreement, Tamler

   10 expressed an outright refusal to grant any additional salary increase, any partnership

   11 stake, or any additional suggestions, to/from Morgan. As a result, Mr. Morgan

   12 informed CDS that he could no longer work for the company and gave a notice of his

   13 intention to leave. After that, Morgan acquiesced to a 3 day transition period to help

   14 transition information. Morgan’s last day working for CDS was March 4, 2020.

   15            b. Call Haven Partners, LLC and Allegations of Misappropriation
   16         In the months and years preceding Morgan’s departure from CDS he had been

   17 overworked and promised that he would eventually be rewarded. However, this all

   18 changed commencing with Tamler’s involvement with CDS. Until his departure,

   19 Morgan committed the entirety of his effort to CDS.

   20         In March of 2020, Morgan went to work for himself in the field and began
   21 operating Call Haven Partners, LLC (“Call Haven”). Plaintiff falsely alleges that

   22 Morgan and Call Haven have stolen trade secrets from Plaintiff and falsely solicited

   23 clients away from CDS thereby resulting in loss of substantial revenue.

   24         Plaintiff claims that prior to the COVID-19 pandemic, CDS was routing several
   25 million misdialed calls in a typical month. Less than 10% of these misdialed calls were

   26 placed to numbers owned by CDS. The rest of the misdialed calls were placed to
   27 numbers held by CDS’s suppliers. CDS also maintains that prior to the COVID-19

   28 pandemic, airline misdials were the most profitable category for CDS.

                                                 2
        DEFENDANTS’ TRIAL BRIEF                                           2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 8 of 25 Page ID #:2116



    1
              Mr. Richards of CDS will testify that there has been a reduction of the sales for

    2
        Plaintiff since Defendant Morgan’s departure from the company. For example,

    3 Richards claims that Defendant Morgan induced one Jodi Carrier to cause “a supplier

    4 to stop supplying numbers to CDS and to supply those same numbers to Call Haven.”

    5 Richards further claims, without evidence, that prior to his departure from CDS,

    6 Morgan must have contacted another major supplier and caused this CDS supplier,

    7 who was the owner of a very valuable number receiving misdials to a large issuer of

    8 credit cards, to stop doing business with CDS and give its numbers to Call Haven.

    9 Plaintiff alleges Morgan did this by taking advantage of confidential information about

   10 the terms of the contract that CDS had with this supplier and using that confidential

   11 information to offer more favorable terms to the supplier thereby enticing the supplier

   12 to switch from CDS to Call Haven. Richards also alleges without evidence, that five

   13 (5) additional “suppliers” ceased doing business with Plaintiff since the Covid-19

   14 outbreak, and baselessly attributes it all to Defendants.

   15         Plaintiff also falsely maintains that Morgan misappropriated CDS’S proprietary

   16 trade secrets and confidential information which includes a Toll-Free Number

   17 Algorithm (“TFNA”). TFNA, which was created by Morgan for his own use, analyzes

   18 the countless different ways that an individual could misdial a given 10 digit phone

   19 number. Morgan utilized that data to create a target list of toll-free numbers to obtain

   20 from a pool or database that is released every evening by an organization known as

   21 SOMOS. Plaintiff alleges that Morgan misappropriated the TFNA, which was stored

   22 on his laptop. For the sake of clarity, there is no dispute Morgan was never asked to

   23 return the laptop that he had used during his employment with CDS. Had Morgan been

   24 asked to return any equipment or provide additional insight, he would have gladly

   25 done so. In March, 2020, after Morgan left CDS, he wiped the laptop clean of any

   26 information relating to CDS and gave it to his children to use for school work and
   27 games. Unfortunately, CDS now maintains that the act of wiping the laptop was in

   28 furtherance of the Defendants’ alleged misappropriation.

                                                   3
        DEFENDANTS’ TRIAL BRIEF                                             2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 9 of 25 Page ID #:2117



    1            c. Defendants Have Not Misappropriated Anything and Plaintiff’s

    2               Alleged Damages, If they Exist, Are Self Inflicted

    3         Although CDS falsely alleges Morgan and Call Haven have misappropriated

    4 customers and confidential information from CDS resulting in substantial revenue

    5 loss, the facts and evidence demonstrate otherwise.

    6                   i. Facts Re: CDS Loss of Revenue

    7         Mr. Richards’ businesses had been struggling economically for years. The

    8 businesses at one point had 50 employees who were conducting sales efforts for Mr.

    9 Richards under the business name “Dial800” which included Mr. Morgan. Over time,

   10 Dial800 suffered a downturn in business, mostly due to Mr. Richards’ failure to

   11 understand the nature of the industry, and his mistreatment of his employees.

   12 Eventually, Mr. Richards started two new companies, Plaintiff herein, CDS, and a

   13 separate company called Reconnect Research (herein “RR”). RR’s business was to

   14 conduct research with the phone calls as the greatest profit for call monetization, and

   15 acted as the face and buyer of the Research contracts, and would work with CDS to

   16 build the surveys and supply the phone calls for RR to conduct the surveys.

   17         As time progressed, Mr. Richards again had difficulty running the business and
   18 needed a significant cash infusion into the business, and was forced to seek investors

   19 who could keep the company afloat. Eventually, in the last quarter of 2019, Mr.

   20 Richards began negotiating with Sandra Tamler and reached an agreement with her.

   21 As part of that deal, Mr. Richards provided Ms. Tamler control of the company.

   22         Once the deal with Ms. Tamler was completed, she indicated that she was going
   23 to eviscerate the CDS Company, but protect RR for her own interests. She instructed

   24 Mr. Richards that the company was to terminate all the buyers that she didn’t like. Mr.

   25 Richards quickly complied and notified several of the Company’s major buyers that it

   26 was going to shut them off. This caused a significant reduction in the business and
   27 revenue of CDS. It became clear early on that Ms. Tamler was not interested in the

   28 CDS business, but only wanted the RR business.

                                                 4
        DEFENDANTS’ TRIAL BRIEF                                           2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 10 of 25 Page ID #:2118



    1
              At the beginning of January, 2020, Ms. Tamler made a demand to shut off all

    2
        CDS business that could be considered dangerous or harmful to her or to RR business.

    3 These were major changes that crippled tens of thousands of dollars of profitable

    4 business, as well as causing irreparable harm to many of CDS’s existing suppliers and

    5 buyers. These changes were made without consent or notice to CDS suppliers or

    6 buyers. Upon receiving a backlash of complaints, CDS made contact with suppliers

    7 and let them know that they were going to be seeing a considerable decrease in their

    8 payouts as CDS started blocking all of their numbers and traffic.

    9         As a result of Ms. Tamler’s dictates, CDS went from having one of its best

   10 revenue months in December 2019, to one of its worst months in January 2020.

   11         Finally, CDS’s admits its buyers include a variety of businesses in different

   12 industries, including but not limited to companies selling cruise vacations, airline

   13 tickets, auto insurance, and legal services. However, Plaintiff’s claims do not address

   14 or otherwise ignore that the entire planet was economically paralyzed due to the

   15 Covid-19 outbreak since at least the latter part of January, 2020, and that the travel

   16 industry, including cruise lines and airlines have been decimated by the incredible

   17 downturn in business across the world. Travel and related facets of that industry have

   18 been affected the most dramatically. For example, auto insurance industry has been

   19 staggering, resulting in rebates and reduction in policy premiums, etc.

   20                  ii. CDS’S Allegations Of Proprietary Trade Secrets Do Not
   21                     Withstand Scrutiny
   22                         1. Routing Technology
   23         In April 2020, the month following Morgan’s departure, CDS cancelled a
   24 critical contract with a company called NoveltySoft which was the developer of the

   25 routing technology Plaintiff claims Mr. Morgan was the primary architect of. The

   26 termination resulted in the loss of all access to software developed over the course of
   27 the preceding 4 years that Morgan had been employed by CDS.

   28         CDS’S claim that it developed a unique and proprietary computer software

                                                  5
        DEFENDANTS’ TRIAL BRIEF                                           2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 11 of 25 Page ID #:2119



    1
        system to route misdial calls is based on a lack of understanding at best. Every Buyer

    2
        and Supplier has their own system on how they route calls, each in their own right can

    3 be unique and successful. A vast majority of suppliers are using a mutual partner

    4 “RouteTrust” to route all of the misdialed calls. Upon his giving over the Toll-Free

    5 Number Algorithm tool to Ms. Tamler in January, Mr. Morgan was told that Ms.

    6 Tamler already had superior ways to identify a vast majority of the numbers Mr.

    7 Morgan’s tool came up with, and she outright rejected its use, effectively abandoning

    8 it.

    9                          2. Toll-Free Number Algorithm

   10          Plaintiff also claims that Morgan misappropriated a unique and proprietary Toll-

   11 Free Number Algorithm (“TFNA”) he developed while he was employed by CDS.

   12 The TFNA was used by Morgan on behalf of CDS to identify potentially profitable

   13 toll-free numbers obtained from a pool or database that is released every evening by

   14 an organization known as SOMOS.

   15          There is nothing secret or proprietary about the TFNA. To begin, the phone

   16 numbers provided by SOMOS are publicly available, which is not a trade secret.

   17 There are also a limited number of permutations that can be made from any given

   18 phone number. These permutations cannot include a 1 or a 0 in the first digit location,

   19 nor a 1 or a 0 in the fourth digit location. Thereafter, anyone can compute all of the

   20 potential variations on any given 10 digit telephone number. It may be tedious, but it

   21 is simple math. There is nothing secret or proprietary about math. Rather, the TFNA

   22 is built on simple logic and “public information”.

   23          Further, CDS’ suppliers know who CDS works with/sells calls to, and CDS’s
   24 buyers know other buyers that CDS is working with. This is not a secret. No supplier

   25 cares in particular where their calls are being routed, they only care about the payout,

   26 and the broker that is working with them, knowing they have their best interest at
   27 heart.

   28          While working for CDS, Mr. Morgan dealt with many suppliers who provided

                                                   6
        DEFENDANTS’ TRIAL BRIEF                                             2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 12 of 25 Page ID #:2120



    1
        him summary information on his bank of numbers, which information was provided

    2
        to many suppliers, and not held in confidence. Suppliers commonly share their bank

    3 of numbers to see if anyone will pay them more for them. The most profitable numbers

    4 can be found all by searching public information. Furthermore, suppliers know their

    5 own inventory of numbers, and which numbers are most profitable. Suppliers

    6 commonly send other people in the industry their own inventory of numbers, along

    7 with how much money they are currently making on each one, that are already pre-

    8 identified, and provided to by CDS. These numbers are not secret nor can they be

    9 found exclusively through some alleged trade secret or proprietary information that

   10 CDS supposedly owns. Many of CDS’S suppliers were provided daily, weekly reports

   11 of their numbers and payouts per numbers and many of them knew exactly what

   12 numbers they had and how much they were looking to make for each call or for

   13 outright use for the month of the number.

   14         Plaintiff maintains that CDS, through Morgan “updated and improved the

   15 algorithm used in TFNA. The unique and confidential TFNA used by CDS was an

   16 integral part of CDS’s success.” In truth, this was nothing more than updating of new

   17 public numbers into a database that the script used. It was a low maintenance type of

   18 tool.

   19         Finally, and most importantly, Morgan is simply not using, and has not used or
   20 misappropriated the TFNA. Plaintiff’s allegations that Morgan is actively stealing the

   21 TFNA system and selling it to suppliers is a thinly veiled effort to eliminate market

   22 competition. Furthermore, CDS itself isn’t using the TFNA either. 18 U.S.C. §

   23 1836(b)(1) provides that the alleged trade secret must be related to a product or service

   24 used in, or intended for use in, interstate or foreign commerce. It is no secret that CDS

   25 was never interested in using the TFNA. “This statutory element carries forward the

   26 common law requirement of competitive advantage.” Religious Tech. Ctr. v.
   27 Wollersheim, 796 F.2d 1076, 1090 (9th Cir. 1986) The requirement that [information]

   28 must have economic value to qualify as a trade secret has been interpreted to mean

                                                  7
        DEFENDANTS’ TRIAL BRIEF                                            2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 13 of 25 Page ID #:2121



    1
        that the secrecy of this information provides a business with a ‘substantial business

    2
        advantage’ and here, CDS’S lack of interest in the TFNA does not translate to

    3 independent economic value.

    4                         3. Former CDS Suppliers/Pricing

    5         On April 1st, Morgan determined that working in the online space was a

    6 direction that he wanted to take his new company. Morgan started establishing online

    7 websites to drive Search Engine Optimizations and acquire new and unique lead

    8 sources. This is an area of the industry that CDS has never engaged in. Furthermore,

    9 Airline and Auto insurance calls are widely known in the industry as the highest value

   10 calls. Most suppliers and buyers are aware of this. It is not a “trade secret.”

   11         Morgan never caused another supplier to stop doing business with CDS. While

   12 he is aware that several suppliers that left CDS prior to his leaving CDS, he

   13 understands that they started working with another CDS competitor, not Mr. Morgan

   14 or his company, after Mr. Richards refused to pay the Suppliers’ demands. Neither

   15 Mr. Morgan nor Call Haven is targeting CDS, and suppliers’ numbers are not CDS’

   16 property because the players in the industry are common knowledge.

   17         Nonetheless, Plaintiff claims that “suppliers of misdialed numbers are
   18 extremely difficult to find.” However, evidence demonstrates that everyone in the

   19 industry knows who the suppliers of misdialed numbers are. CDS has 35 suppliers,

   20 and several other competitors have quite larger lists of suppliers. There are well over

   21 100 different companies that engage in the business of the parties to this litigation and

   22 many of the same wholesalers know all of these suppliers.

   23         Likewise, there is nothing secret about industry pricing. Generally, revenue to
   24 a business such as CDS comes from a pre-qualified leads that can be negotiated at any

   25 price and any duration of the call. Suppliers negotiate these rates on their own as it’s

   26 a well-known term to ask, for example, “how much for 90+second calls”? The price
   27 is always variable and nothing is set in stone, nor is it secret. In the vast majority of

   28 cases, the suppliers are the ones who know their own price, and demand that the buyers

                                                   8
        DEFENDANTS’ TRIAL BRIEF                                             2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 14 of 25 Page ID #:2122



    1
        pay them a certain amount. Rarely do suppliers not know exactly how much their

    2
        calls are worth.

    3         Plaintiff’s loss of business is not because Defendants have solicited away its

    4 customers, but rather because the company voluntarily ceased doing business with

    5 many of them when Ms. Tamler took over, and because CDS has a reputation of being

    6 difficult to deal with and refuses to maintain competitive pricing in the industry.

    7 Neither Mr. Morgan nor Call Haven Partners, LLC, are engaged in unlawful conduct,

    8 and are in no way trying to cause any harm to CDS. On the contrary, it is CDS who,

    9 by this lawsuit, is seeking to unlawfully restrain competition.

   10                         II.   PLAINTIFF’S CAUSES OF ACTION

   11            a. Defend Trade Secrets Act (“DTSA”)

   12         The DTSA provides a private civil cause of action for victims of trade secret

   13 espionage or theft where a trade secret has been misappropriated, and requires that

   14 the misappropriated trade secret is related to a product or service used in, or intended

   15 for use in, interstate commerce. See 18 U.S.C. § 1836.

   16                      i. Prima Facie Element of the DTSA: Defining “Trade Secret”

   17         In passing the DTSA, Congress intended to create a unified definition of what
   18 constitutes a trade secret and a separate federal cause of action for misappropriation

   19 of trade secrets. Under subsection 1839, a trade secret is defined as “all forms and

   20 types of financial, business, scientific, technical, economic, or engineering

   21 information, including patterns, plans, compilations, program devices, formulas,

   22 designs, prototypes, methods, techniques, processes, procedures, programs, or

   23 codes, whether tangible or intangible, and whether or how stored, compiled, or

   24 memorialized physically, electronically, graphically, photographically, or in

   25 writing.” 18 U.S.C. § 1839. Court have implied or even expressly held that the

   26 definition of a trade secret is the same under the DTSA and state trade secret law.
   27         Additionally, section 1839 further requires that trade secret owners must take
   28 certain measures in order for the information at issue to maintain protection as a

                                                   9
        DEFENDANTS’ TRIAL BRIEF                                            2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 15 of 25 Page ID #:2123



    1
        trade secret under the DTSA:

    2
              (A) the owner thereof has taken reasonable measures to keep such information

    3 secret; and

    4         (B) the information derives independent economic value, actual or potential,

    5 from not being generally known to, and not being readily ascertainable through

    6 proper means by, another person who can obtain economic value from the disclosure

    7 or use of the information. 18 U.S.C. § 1839.

    8         The information at issue is not trade secret, but even if it were, protection of

    9 the information at issue was destroyed because CDS did not take “reasonable

   10 measures to keep their information secret.” Whether measures taken by trade secret

   11 owners are “reasonable” highly depends on the specific facts of each case, including

   12 the technology used, the industry, and how sophisticated the parties are. For

   13 example, in Weride Corporation v. Huang, 379 F. Supp. 3d 834, 847 (N.D. Cal.

   14 2019), the Court held that restricting access to a source code by logging-in,

   15 encrypting the source code, and requiring employees to sign a proprietary

   16 information and inventions assignment agreement was sufficient to meet the

   17 reasonable measurement standard. Here, Plaintiff has taken no such measures of

   18 anything alleged to be a trade secret.

   19         Furthermore, the alleged trade secret information is “readily ascertainable” to
   20 the general public and particularly to players in the industry.

   21                  ii. Damages
   22         Courts have also consistently insisted that Plaintiffs establish the causal
   23 relationship between the trade secrets misappropriated and the damages pled. For

   24 example, in 02 Micro Inter. Ltd. v. Monolithic Power Systems, Inc., 399 F.Supp.2d

   25 1064 (N.D. Cal. 2005), the Court warned the Plaintiff before trial that if it failed to

   26 obtain trade secret findings on all of its alleged trade secrets, it would lose its trade
   27 secrets damages award unless it presented expert evidence apportioning the damages

   28 on a trade secret-by-trade secret basis. Despite the court’s express admonition, the

                                                  10
        DEFENDANTS’ TRIAL BRIEF                                             2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 16 of 25 Page ID #:2124



    1
        Plaintiff did not offer expert testimony on apportionment, causing the court to vacate

    2
        the jury’s trade secrets damages award after the jury found that only some of the

    3 alleged trade secrets were protectable.

    4         Here, Plaintiff cannot show its alleged damages are casually related to any

    5 alleged misappropriation. In fact, Plaintiff’s reduction in business and revenue is

    6 self-inflicted and/or a reflection of general economic conditions.

    7            b. Uniform Trade Secrets Act (“UTSA”)

    8         California, like many states, adopted UTSA and incorporated it into the

    9 California Civil Code in 1984. The code defines a trade secret as “information,

   10 including a formula, pattern, compilation, program, device, method, technique,

   11 or process” that:

   12         - Derives independent economic value from not being generally known

   13            by others and is not reasonably and independently ascertainable on

   14            one’s own;

   15         - Is the subject of “reasonable efforts” to maintain its secrecy.

   16         Courts have defined “reasonable efforts” to include “advising employees of the

   17 existence of a trade secret, limiting access to the information on a ‘need to know basis,’

   18 requiring employees to sign confidentiality agreements, and keeping secret documents

   19 under lock.” Requiring employees, contractors, visitors and other people who may

   20 come into contact with trade secret information to sign confidentiality or non-

   21 disclosure agreements help to ensure that the information retains its trade secret status,

   22 because such agreements impose on their signers a contractual duty not to disclose the

   23 information. Leatt Corp. v. Innovative Safety Tech., LLC, 2010 W.L. 1526382 (2010)

   24 citing Religious Technology Center v. Netcom On-Line Communication Services,

   25 Inc., 907 F. Supp. 1361 (N.D. Cal. 1995); MAI Systems Corp. v. Peak Computer, 991

   26 F.2d 511, 521 (9th Cir. 1993).
   27                   i. Client and Customer Lists as Trade Secrets
   28

                                                  11
        DEFENDANTS’ TRIAL BRIEF                                             2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 17 of 25 Page ID #:2125



    1
              The DTSA defines a trade secret as all forms and types of “financial,

    2
        business, scientific, technical, economic, or engineering information.”

    3   Historically, California courts have protected customer lists to the extent they

    4   are “compilations,” not a random set of customers. Steinberg Moorad & Dunn

    5   Inc., v. Dunn, 136 Fed.Appx. 6, 2005 WL 712487, at * 12 (Cal. 2005) (where

    6   sports firm “client list information was available to all agents” it was not a

    7   protectable trade secret).

    8         As discussed in conjunction with the preceding cause of action, Plaintiff

    9   took no measures to protect its alleged trade secrets because there is nothing

   10   secret, confidential or proprietary about the information. Thus, Plaintiff saw

   11   no need to protect it. Contrary to assertions made by Plaintiff, Morgan does not

   12   admit he used CDS’s private customer information to solicit CDS’ customers for

   13   himself and his business.

   14            c. Alleged Spoliation of Evidence
   15         The evidence will show Morgan left the employ of CDS on March 4, 2020 and

   16 that CDS was never concerned enough about the material on the Microsoft Surface

   17 Pro laptop (the “Laptop”) to ask Morgan to return it. Nor did CDS ever express any

   18 concern about the Laptop until commencement of this lawsuit.

   19         In response to CDS’ indifference, Morgan assumed CDS abandoned anything
   20 having to do with the Laptop and gave it to his children to play games, watch videos

   21 and make recordings. However, before doing so, Morgan purchased a new Dell XPS

   22 laptop for himself and his business on March 7, 2020 and a Microsoft 365 subscription

   23 on March 17, 2020. See Trial Exhibits 753, 754. Morgan also wiped the Laptop via

   24 factory reset to delete all of the information thereon and start anew.

   25         From early March 2020 to October 10, 2020, Morgan allowed his children to
   26 use the laptop for entertainment and schoolwork. In October 2020, Morgan saw a
   27 report that authorities were warning parents to be on the lookout for child predators

   28 using the internet and on-line presence as a medium for nefarious activity. Knowing

                                                  12
        DEFENDANTS’ TRIAL BRIEF                                            2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 18 of 25 Page ID #:2126



    1
        that the Laptop was devoid of any information relevant to this litigation and that it

    2
        contained private recordings, identification and information relating to his children,

    3 Morgan wiped the Laptop again on October 10, 2020.

    4         In deciding whether to impose sanctions, “the most critical factor is not merely

    5 delay or docket management concerns, but truth. What is most critical for case-

    6 dispositive sanctions, regarding risk of prejudice and of less drastic sanctions, is

    7 whether the [violation] threaten[s] to interfere with the rightful decision of the

    8 case.” Connecticut Gen. Life Ins. Co. v. New Images of Beverly Hills, 482 F.3d 1091,

    9 1097 (9th Cir. 2007) (citations omitted) (internal quotation marks omitted). Wyle v.

   10 R.J. Reynolds Indus., Inc., 709 F.2d 585, 591 (9th Cir. 1983) (“Sanctions interfering

   11 with a litigant’s claim or defenses violate due process when imposed merely for

   12 punishment of an infraction that did not threaten to interfere with the rightful decision

   13 of the case.”).

   14         In the matter at hand, there was never anything of significance on the Laptop

   15 and even if there had been, CDS’s abandonment of the Laptop and the information

   16 thereon, precludes the information wiped from the Laptop from being classified as

   17 trade secret information because there were no reasonable measures taken to maintain

   18 its secrecy. Weride Corporation v. Huang, 379 F. Supp. 3d 834, 847 (N.D. Cal.

   19 2019) As a consequence of CDS’ abandonment of the Laptop, Morgan wiped the

   20 Laptop of any information relevant to this case in March 2020, and gave the Laptop

   21 to his children. The only information wiped from the Laptop on October 10, 2020,

   22 was private recordings, identification and information relating to Morgan’s children

   23 which has no relevance or bearing on the underlying truth in the case at hand. For these

   24 reasons, the Court must proceed with caution in connection with Plaintiff’s spoliation

   25 allegations.

   26            d. Breach of Fiduciary Duty of Loyalty
   27         “It's no longer the case in California that a claim for . . . breach of duty of loyalty
   28 based upon the misappropriation of trade secrets would survive even though both

                                                     13
        DEFENDANTS’ TRIAL BRIEF                                                 2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 19 of 25 Page ID #:2127



    1
        claims require proof of ‘additional elements’ like a relationship of trust or

    2
        confidence.” Whiteslate, LLP v. Dahlin, No. 20-CV-1782 W (BGS) (S.D. Cal. July 7,

    3 2021) quoting Mattel, Inc. v. MGA Ent., Inc., 782 F.Supp. 2d 911, 986 (C.D. Cal.

    4 2011). The California Court of Appeals has held that CUTSA “supersedes any claim

    5 ‘based on the same nucleus of facts as the misappropriation of trade secrets claim,’

    6 even though the superseded claim may seek ‘something more.’” Id. quoting K.C.

    7 Multimedia, Inc. v. Bank of Am. Tech. and Operations, Inc., (2009) 171 Cal.App. 4th

    8 939, 958. CUTSA preempts Plaintiff’s breach of the duty of loyalty claim because it

    9 is based on the same nucleus of facts as its misappropriation of trade secrets claim.

   10 See Whiteslate, LLP v. Dahlin, No. 20-CV-1782 W (BGS) (S.D. Cal. July 7, 2021)

   11 quoting Mattel, 782 F.Supp. 2d at 986.

   12         More importantly, even if Morgan had a duty fiduciary duty of loyalty, evidence

   13 shows Morgan never did anything that could be considered a breach of that duty.

   14                         III.   MORGAN’S COUNTERCLAIMS
   15         Morgan has asserted counterclaims against CDS under California employment

   16 law and common law. (See Answer and Counter-claims EFC No. 30.)

   17            a. Morgan Is Entitled To Paid Time Off (“PTO”)
   18         While there is no legal requirement in California that an employer provide its
   19 employees with either paid or unpaid vacation time, (Owen v. Macy’s, Inc., 175

   20 Cal.App.4th 462, 468, (2009)) if an employer does have an established policy,

   21 practice, or agreement to provide paid vacation, then certain restrictions are placed on

   22 the employer as to how it fulfills its obligation to provide vacation pay. Cal. Labor

   23 Code, § 227.3 requires the employer to pay as wages any “vested” vacation time a

   24 terminated employee has not used. McPherson v. EF Intercultural Foundation, Inc,

   25 (2020) 47 Cal.App.5th 243. Cal. Labor Code § 227.3 provides:

   26         “Unless otherwise provided by a collective-bargaining agreement, whenever a
   27 contract of employment or employer policy provides for paid vacations, and an

   28 employee is terminated without having taken off his vested vacation time, all vested

                                                 14
        DEFENDANTS’ TRIAL BRIEF                                            2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 20 of 25 Page ID #:2128



    1
        vacation shall be paid to him as wages at his final rate in accordance with such contract

    2
        of employment or employer policy respecting eligibility or time served; provided,

    3 however, that an employment contract or employer policy shall not provide for

    4 forfeiture of vested vacation time upon termination. The Labor Commissioner or a

    5 designated representative, in the resolution of any dispute with regard to vested

    6 vacation time, shall apply the principles of equity and fairness.”

    7         In Suastez v. Plastic Dress-Up Co. 31 Cal.3d 774 (1982) the California Supreme

    8 Court addressed the issue of when the right to vacation “vest[s]” under section 227.3.

    9 The Court held, “The right to a paid vacation, when offered in an employer’s policy

   10 or contract of employment, constitutes deferred wages for services rendered. Case law

   11 from this state and others, as well as principles of equity and justice, compel the

   12 conclusion that a proportionate right to a paid vacation ‘vests’ as the labor is rendered.

   13 Once vested, the right is protected from forfeiture by section 227.3. On termination of

   14 employment, therefore, the statute requires that an employee be paid in wages for a

   15 pro rata share of his vacation pay.” Id. at p. 784.

   16         Under California law, earned vacation time is considered wages, and vacation

   17 time is earned, or vests, as labor is performed. Id. For example, if an employee is

   18 entitled to four weeks (20 work days) of vacation per year, after six months of work

   19 he or she will have earned ten days of vacation. Vacation pay accrues as it is earned,

   20 and cannot be forfeited, even upon termination of employment, regardless of the

   21 reason for the termination. Suastez v. Plastic Dress Up (1982) 31 Cal.3d 774. Upon

   22 termination of employment all earned and unused vacation must be paid to the

   23 employee at his or her final rate of pay. Cal. Labor Code § 227.3

   24         While CDS claims that it had a written policy that provided its employees with
   25 unlimited Paid Time Off, any such policy was not honored by CDS, and all efforts of

   26 Mr. Morgan to take time off were rejected by his employer. CDS offers a document
   27 that it contends is CDS’s unlimited PTO policy which states that, effective April 1,

   28 2016, instead of accumulating accrued PTO (which seems to have been the previous

                                                    15
        DEFENDANTS’ TRIAL BRIEF                                              2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 21 of 25 Page ID #:2129



    1
        practice), exempt employees had an “open availability of time to use at their

    2
        discretion.” However, the policy is for Dial800 (the predecessor company to CDS)

    3 and not for CDS itself. CDS never had a written time off policy that was ever

    4 communicated to the employees and cannot produce a signed [PTO] policy because it

    5 did not exist. Nonetheless, CDS’s vacation policy was an implicit part of employment

    6 corroborated by, albeit broken, promises.

    7         In McPherson v. EF Intercultural Foundation Inc. (2020) 47 Cal. App. 5th 243,

    8 the California Court of Appeal held that under the particular facts of the case, the

    9 requirement to pay at separation can apply to what the employer maintained was an

   10 unlimited paid time off policy. Like EF Intercultural Foundation Inc., (“EF”) CDS had

   11 a policy of providing paid vacation or time off to employees, including Morgan,

   12 therefore, triggering the first prong of section 227.3: “whenever . . . [an] employer

   13 policy provides for paid vacations . . . .” It also is undisputed that CDS did not promise

   14 Morgan a specific amount of paid vacation that he would accrue over time or expressly

   15 tell him was limited to a maximum amount of paid time off. Thus, the second prong

   16 of section 227.3 has been triggered. That prong states “and an employee is terminated

   17 without having taken off his vested vacation time”. Once CDS opted to provide

   18 employees including Morgan with paid vacation, by default that paid time off

   19 constituted additional wages attributable to the services Morgan rendered during the

   20 year, vesting as he labored under Suastez. Suastez, supra, 31 Cal.3d at pp. 779, 782,

   21 784 (“all vacation pay is vested when earned”).

   22         Like the employer in McPherson v. EF Intercultural Foundation Inc., CDS's
   23 policy was to promise employees some fixed amount of vacation time. As in the

   24 McPherson case, CDS expected Plaintiffs to take vacation in the range typically

   25 available to corporate employees (such as two to six weeks), not an “unlimited”

   26 amount—for example, more than would be available under a traditional accrual
   27 policy. The McPherson court concluded “the best approach is a more straightforward

   28 one: 20 days of vacation vested annually for each plaintiff, and any unused portion is

                                                   16
        DEFENDANTS’ TRIAL BRIEF                                             2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 22 of 25 Page ID #:2130



    1
        payable at termination.” See McPherson, supra, 47 Cal. App. 5th 243, 254 citing

    2
        Church v. Jamison (2006) 143 Cal.App.4th 156. The court based its conclusion on law

    3 and equity under section 227.3. As a legal determination, the Court found the evidence

    4 demonstrated 20 days’ annual vacation was available to plaintiffs under EF’s policy.

    5 Under principles of equity and fairness, the court stated it was “attempting to provide

    6 plaintiffs with adequate compensation for unused vacation time, without over-

    7 compensation, in circumstances where the amount of vacation time available was not

    8 expressly defined.” In the case at hand, although CDS’s “policy” was to allow liberal

    9 use of vacation time, the actual amount of PTO Morgan was allowed to take was

   10 nominal compared to what he was promised. Morgan’s unused PTO vested during his

   11 employment with CDS and he should be compensated accordingly. The facts in the

   12 McPherson case are analogous those at hand, and illuminate a clear path for the

   13 direction of this case. Accordingly, Morgan should be credited with 20 days paid

   14 vacation from January 2014 through March 2020 (approximately 122 days).

   15         As of the last date he worked for CDS, Morgan had accumulated unpaid Paid

   16 Time Off. To date, Morgan has not been paid for any of that.

   17            b. Morgan Is Entitled To A Fact Determination On Waiting Time
   18               Penalties
   19         Strong public policy in California has long favored the full and prompt payment
   20 of wages due an employee. “It has long been recognized that wages are not ordinary

   21 debts, that they may be preferred over other claims, and that, because of the economic

   22 position of the average worker and, in particular, his dependence on wages for the

   23 necessities of life for himself and his family, it is essential to the public welfare that

   24 he receive his pay when it is due.” Kerr’s Catering Service v. Department of Industrial

   25 Relations 57 Cal.2d 319, 326, (1962) (internal quotes omitted).

   26         To ensure that employers comply with the laws governing the payment of wages
   27 when an employment relationship ends, the California Legislature enacted Cal. Labor

   28 Code § 203 which provides for the assessment of a penalty against the employer when

                                                   17
        DEFENDANTS’ TRIAL BRIEF                                             2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 23 of 25 Page ID #:2131



    1
        there is a willful failure to pay wages due the employee at conclusion of the

    2
        employment relationship.

    3         To be at fault within the meaning of Cal. Labor Code § 203, “the employer’s

    4 refusal to pay need not be based on a deliberate evil purpose to defraud workmen of

    5 wages which the employer knows to be due. As used in section 203, ‘willful’ merely

    6 means that the employer intentionally failed or refused to perform an act which was

    7 required to be done.” Barnhill v. Robert Saunders & Co. 125 Cal.App.3d 1, 7 (1981);

    8 Mamika v. Barca, 68 Cal.App.4th 487, 493 (1998). “The settled meaning of “willful”

    9 is that an employer has intentionally failed or refused to perform an act which was

   10 required to be done; the employer’s refusal to pay need not be based on a deliberate

   11 evil purpose to defraud workmen of wages which the employer knows to be due.”

   12 Lopez v. United Parcel Service, Inc., 2010 WL 728205 (N.D. Cal. 2010).

   13         Although CDS vocalized a liberal vacation policy, this was more about

   14 placating overworked employees. When it came time to actually use vacation time,

   15 Scott Richards always made it clear to Morgan that the company could not afford for

   16 him to be gone for any extended period of time. Therefore, Morgan’s paid time off

   17 continued to accrue, unused, until termination of his employment. But when Morgan’s

   18 employment came to an end CDS refused to pay Morgan for his vested PTO under the

   19 premise that it maintained an unlimited PTO policy. CDS now maintains Morgan is

   20 not entitled to wait time penalties under Cal. Labor Code § 203, and claims there is a

   21 “good faith” dispute which precludes the finding of willfulness. However, “defenses

   22 presented which, under all the circumstances, are unsupported by any evidence, are

   23 unreasonable, or are presented in bad faith, will preclude a finding of a ‘good

   24 faith dispute.’ ” Troester v. Starbucks Corporation 387 F.Supp.3d 1019, 1030, (C.D.

   25 Cal. 2019) order clarified on reconsideration (C.D. Cal., May 21, 2019, No.

   26 CV1207677CJCPJWX) 2019 WL 2902487; Villalpando v. Exel Direct Inc. 2015 WL
   27 5179486, at *36 (N.D. Cal., Sept. 3, 2015, No. 12-CV-04137-JCS).

   28            c. Morgan’s Breach of Contract Action
                                                18
        DEFENDANTS’ TRIAL BRIEF                                          2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 24 of 25 Page ID #:2132



    1         CDS’ argument that Morgan “admitted that he never entered into any type of
    2 written employment agreement with CDS, and instead, the idea of him receiving any

    3 “ownership interest” was just something that was “discussed” verbally and via e-mail”

    4 completely misses the point of Morgan’s Breach of Contract counterclaim.

    5         Morgan’s Breach of Contract claim is not an ownership interest question, but
    6 the failure of CDS to pay the promised bonuses that were due. (See ¶ 76, Answer and

    7 Counterclaim) (ECF No. 30.)

    8         Morgan will testify that the employment contract between he and CDS
    9 regarding the bonus were communicated to him both orally by Scott Richards, and via

   10 numerous email commitments made to Morgan regarding his bonus compensation.

   11 Morgan performed his side of that employment agreement by continuing to work for

   12 CDS until March of 2020.

   13         The condition precedent of gross income sufficient to reach the required level
   14 was artificially manipulated by CDS in a fraudulent effort to deprive Morgan and other

   15 CDS employees of their bonus compensation. Numerous commitments were made to

   16 Morgan by Scott Richards and CDS that the bonus for 2018 & 2019 would be paid as

   17 due, but CDS manipulated the books to avoid paying that obligation. The evidence

   18 will show Morgan’s entitlement to bonuses for 2018 & 2019.

   19
        Respectfully submitted,
   20                                  LAW OFFICE OF MICHAEL P. RING & ASSOC.
   21

   22

   23 Dated: March 23, 2022            By ______________________________________
                                            MICHAEL P. RING
   24                                       ATTORNEYS FOR DEFENDANT
                                            DARYL MORGAN, AN INDIVIDUAL;
   25                                       CALL HAVEN PARTNERS, LLC, A
                                            CALIFORNIA LIMITED LIABILITY
   26                                       COMPANY
   27

   28

                                                 19
        DEFENDANTS’ TRIAL BRIEF                                          2:20-cv-04637-CBM-PD
Case 2:20-cv-04637-CBM-PD Document 136 Filed 03/23/22 Page 25 of 25 Page ID #:2133



    1

    2                          PROOF OF SERVICE
                 STATE OF CALIFORNIA, COUNTY OF SANTA BARBARA
    3
            I am employed in the County of Santa Barbara, State of California. I am over
    4 the age of 18 and not a party to the within action; my business address is 1234 Santa
      Barbara Street, Santa Barbara, California, 93101.
    5
            On March 23, 2022, I served the foregoing document described as
    6 DEFENDANTS       DARYL MORGAN, AN INDIVIDUAL AND CALL HAVEN
      PARTNERS, LLC’S TRIAL BRIEF on the interested parties in this action by
    7 placing ____the original XX a true copy thereof as follows:

    8   Alton G. Burkhalter                        Jonathan Landesman
        Daniel J. Tamler                           Hope Steidle Kildea
    9   Joshua A. Waldman                          Cohen Seglias Pallas Greenhall &
   10   Burkhalter Tamler Clement & George,        Furman PC
        LLP                                        1600 Market Street
   11
        2020 Main Street, Suite 600                32nd Floor
   12   Irvine, CA 92614                           Philadelphia, PA 19103
        aburkhalter@bkcglaw.com                    jlandesman@cohenseglias.com
   13
        dTamler@bkcglaw.com                        hkildea@cohenseglias.com
   14   jwaldman@bkcglaw.com                       email only
        email only
   15

   16 __XX BY ELECTRONIC MAIL TRANSMISSION: via the United States
        District Court, Central District of California’s CM/ECF system. I caused the listed
   17 documents to be electronically filed and subsequently emailed to the recipient(s).

   18
          XX I declare under penalty of perjury under the laws of the State of California
   19 that the above is true and correct.

   20         Executed on March 23, 2022, at Santa Barbara, California.
   21
          MICHAEL P. RING                              _______________________________
   22 Type or Print Name                                    Signature
   23

   24

   25

   26
   27

   28

                                                  20
        DEFENDANTS’ TRIAL BRIEF                                            2:20-cv-04637-CBM-PD
